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                                 Case No. 18-4111

                IN THE UNITED STATES COURT OF APPEALS

                                 TENTH CIRCUIT



                          UNITED STATES OF AMERICA

                                 Plaintiff/Appellee

                                         vs.

                                 NATHAN WARD

                                Defendant/Appellant



                           APPENDIX OF APPELLANT



   Appeal from the a sentencing entered in the United States District Court for
   the District of Utah, The Honorable Dee Benson presiding, sentencing Mr.
   Ward to262 months in federal custody in case number 1: 17-cr-00060 DB

   EDWARD K. BRASS, #0432                 JOHN HUBER
   BRASS & CORDOVA                        United States Attorney
   175 East 400 South Suite 400           FELICE J. VITI
   Salt Lake City, Utah 84111-2142        Assistant United States Attorney
   Telephone: (801) 322-5678              111 South Main Street #1800
                                          Salt Lake City, Utah 84111
                                          Telephone: (801)524-5682


   Counsel for Appellant                  Counsel for Appellee

                           Oral Argument is not requested
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   FACTORS

   PORTIONS OF PRESENTENCE REPORT                                  10-14

   TRANSCRIPT OF SENTENCING                                        15-34

   FINAL JUDG1vfENT                                                35-41
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                                                          APPEAL,CLOSED,DT_PEAD,XA_EXAM
                       US District Court Electronic Case Filing System
                                  District of Utah (Northern)
                 CRIMINAL DOCKET FOR CASE #: 1: 17-cr-00060-D6-1


     Case title: USA v. Ward                              Date Filed: 09/13/l0 17
                                                          Date Tenninated: 07/l0/2018

     Assigned to: Judge Dee Benson

     Defepdapt CU
     Nathan Clark Ward                   represented by Edward K. Brass
     TERMINATED: 07/20/2018                             l 75 E 400 S STE 400
                                                        SALT LAKE CITY, UT 84 I 11
                                                        (801 )322-S678
                                                        Email: ed@edbrass1aw,cgm
                                                        LEAD A1TORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Retained

    Pendinr Counts                                    Disl>QSition
    18:2251(a)-SEXUAL
                                                      BOP 262 months. Supervised Release LIFE.
    EXPLOITATION OF
    CHILDREN/Production of Child                      Standard and Special Conditions of Release.
    Pornography                                       No Fine Imposed. SAP $100.00 Restitution
                                                      $2,866.80. NTA $5,000.00
    ())
    I 8:2252A(aXSXB) - SEXUAL
    EXPLOJTATION OF
    MINORS/Possession of Child                        DJSMISSED PER GOVT
    Pornography
    (2)
    18:2252A(a)(2) - ACTIVITIES RE
    MATERIAL
    CONSTITIJTING/CONTAINING
    CHILD PORNO/Distribution of Child                 DISMISSED PER GOVT
    Pomography
    (3)


    Bichest Offense Level CQpenine)
    Felony

   Terminated Counts                                 Disposition
   None

                                        000001
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     Bichnt QtTeaae LeveJ £Iermio1ted)
    None

    Complaints                                          Dia11P1i1iu
    None


    NgticePany
    Victim Witness Coordiaator               represented by Victim Witness Coordinator
                                                            US AITORNEY'S OFFICE
                                                            Email: Capdelaria,Benoett@usdgi,gov
                                                            PROSE



    Notice Party
    Pretrial Noticlnc                       represented by Pretrial Noticing
                                                           Email: UTPmJ Pretria!Notjcjpg@utp,uscourts,&Pv
                                                           PROSE


    Npth:e r,m
    Stacey Hirata                           represented by Stacey Hirata
                                                           US PROBATION/PRETRJAL
                                                           Email: stacey birata@utp.uscourts.gov
                                                           PROSE



    Plaintiff
    USA                                     represented by Nathan D. Lyon
                                                           DAVIS COUN1Y A ITORNEY'S
                                                           OFFICE
                                                           POBOX618
                                                           FARMINGTON, UT 84025
                                                           (80 l )4S 1-4300
                                                           Email: olXM@co,dayjs,utys
                                                           LEAD ATTORNEY
                                                           A1TORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

                                                           Andrea T. Martinez
                                                          US ATTORNEY'S OFFICE
                                                          SALT LAKE CITY, UT 00000
                                                          (801 )325-1406
                                                          Email: andw,martinn@usdoi,&9y
                                                          A1TORNEYTOBENOTICED
                                                          Designation: Assistant US Attorney
                                         000002
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     Date FiJed     #    Page Docket Text                                                   -
     09/13/2017      l        SEALED INDICTMENT as to Nathan Clark Ward (I) count(s) 1, 2, 3.
                              Assigned to Judge Dee Benson (jlw) (Entered: 09/13/2017)
     09/14/2017      2        MOTION for Writ of Habeas Corpus ad prosequendum by USA as to Nathan
                              Clark Ward. (tls) (Entered: 09/14/2017)
     09/14/2017      3        DOCKET TEXT ORDER granting 2 Motion for Writ of Habeas Corpus ad
                              prosequendum as to Nath1111 Clark Ward ( 1). Si1:,'lled by Magistrate Judge Dustin
                              B. Pead on 9/14/1017. No attached document. (tis) (Entered: 09/)4/2017)
     09/14/2017     !         Writ of Habeas Corpus ad Prosequendum Issued as to Nathan Clark Ward for
                              9/15/17 3:00 p.m. before Magistrate Judge Dustin B. Pead. (tis) (Entered:
                              09/14/2017)
     09/15/2017     6         ORAL MOTION to Unseal Case by USA as to Nathan Clark Ward. (tJs)
                              (Entered: 09/15/20 I7)
     09/15/2017     7         DOCKET TEXT ORDER gmnting 6 Oral Motion to Unseal Case as to Nathon
                              Clark Ward (I). Signed by Magistmte Judge Dustin B. Pend on 9/151:!0J 7. No
                              attached document. (tis) (Entered: 09/15/2017)
     09/15/2017     8         INDICTMENT UNSEALED as to Nathan Clark Ward (tis) (Entered:
                              09/15/20)7)
     09/)5/2017     9         NOTICE OF Unsealing Criminal Case as to Nathan Clark Ward (tis) (Entered:
                              09/15/2017)
     09/15/2017   ll          Indictment Wammt Returned Executed on 9/15/2017, filed on 9/18/2017 in
                              case as to Nathan Clark Ward (blh) (Entered: 09/18/2017)
     09/15/2017    12        Minute Entry for proceedings held before Judge Magistrate Judge Dustin B.
                             Pead: Initial Appearance/AITllignment/PretriaJ Conference/Detention Hearing as
                             to Nathan Clark Ward (1) Count 1,2,3 held on 9/15/2017. Defendant present
                             with counsel and in custody. Charges, rights and penalties explained. Defendant
                             waives fonnal reading of indictment and enters NOT GUILTY pleas to alJ
                             counts. (Discovel)' due by 9/22/1.017. Proposed Jury Instructions along with
                             proposed voir dire questions 11116/2017. Motions due by J0/13/20 l 7., Plea
                             Agreement due by ) 0/30/2017. S day Jury Trial set for J 1/20/2017 at 08:30 AM
                             in Rm 8.300 before Judge Dee Benson). Government seeks detention.
                             Defendant submits to the issue of detention and reserves the right to have the
                             matter heard at a later date if appropriate. The Court orders defendant detained
                             in USMS custody pending resolution of this matter. Attorney for Plaintiff:
                             Nathan Lyon, Attorney for Defendant: Ed Brass, Retained. Interpreter. Not
                             Needed. Probation Officer: Lorin Smith. Court Reporter: Electronic. (Time
                             Start: 3:28:34, Time End: 3:31 :40, Room 8.400). (tis) (Entered: 09/18/2017)
    09/15/2017    ll         ORDER OF DETENTION PENDING TRIAL as to Nathnn Clark Ward.
                             NOTE: Any future review of detention will remain with the magistrate judge
                             who entered the first detention order. even if an order of referral to n different
                             magistrate judge is entered on this defendant's case. Signed by Magistrate Judge
                             Dustin B. Pead on 9/J 5/2017.(tls) (Entered: 09/18/2017)
    09/18/2017    .LJl       NOTICE of e-mail notification to the United States Attorney's Office
                             Victim/Witness Com!ftor by USA as to Nathan Clark Ward (Lyon, Nathan)
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                           (Entered: 09/1 8/2017)                                        .
     09/19/2017            Notice of Appearance. U.S. Probation and Pretrial Services hereby advises the
                           Court that Pretrial Noticing should be added to this case as to Nathan Clark
                           Ward (kk) (Entered: 09/19/2017)
     10/05/2017     li    First CERTIFICATE OF COMPLIANCE and RequesLfor Reciprocal
                          Discovery filed by USA as to Nathan Clark Ward. (Lyon, Nathan) (Entered:
                          10/05/2017)
     11/15/2017     ll    Defendant's MOTION to Continue Trial filed by Nathan Clark Ward.
                          (Attachments:# l Text of Proposed Order) Attorney Edward K. Brass added to
                          party Nathan Clarlc Ward(pty:dft)(Brass, Edward) (Entered: 11/15/2017)
     l 1/20/2017    16.   ORDER TO CONTINUE - Ends of Justice as to Nnthnn Clark Ward. Time
                          excluded from November 20.2017 until Janunry 2.'.?.2018. Motion grunted .Li
                          Defendant's MOTION to Continue Trial filed by Nathan Clark Ward. (5-day
                          Jmy Trial reset for 1/2.'.?~0I 8 tit 08:30 AM in Rnt 8.300 before Judge Dee
                          Benson) Signed by Judge Dee Benson on 11/20/2017. (blh) (Entered:
                          11/20/2017)
     lVJ3/20J7     l1     NOTICE OF ATTORNEY APPEARANCE Andrea T. Martinez appearing for
                          USA. co-counsel (Martinez, Andrea) (Entered: 12/13/2017)
     01/22/2018           Terminate Deadlines and Hearings as to Nathan Clark Ward: (reb) (Entered:
                          01/22/2018)
     01/23/20)8     18    NOTICE OF HEARING as to Nathan Clark Ward (Notice generated by
                          CHAMBERS) Change of Plea Hearing set for 3/5/2018 at 02:00 PM in Rm
                          8.300 before Judge Dee Benson. (reb) (Entered: 0J/23/2018)
     03/02/2018    19     •••AM.ENDED**" NOTICE QE HEARING as to Nathan Clark Ward
                          (Notice generated by CHAMBERS) Change of Plea. Hearing RESET FOR
                          MONDAY 3126/2018 at 02:00 PM in Rm 8.300 before Judge Dee Benson. (reb)
                          (Entered: 03/0212018)
     03/08/'2018   20     ***AMENDED***~OIICE QEREARING as to Nathan Clark Ward
                          (Notice generated by CHAMBERS) Change of Plea Hearing RESET FOR
                          TUESDAY 3/20/2018 at 03:00 PM in Rm 8.300 before Judge Dee Benson.
                          (reb) (Entered: 03/0812018)
     03/19/2018           Notice ofAppearance. U.S. Probation and Pretrial Services hereby advises the
                          Court that Stacey S. Hirata should be added to this case as to Nathan Clark
                          Ward (ssh) (Entered: 03/19/2018)
    03/20/2018     21     Minute Enny for proceedings held before Judge Dee Benson: Change of Plea
                          Hearing as to Nathan Clark. Ward held on 3/2012018. Presentence Report
                          ordered: Yes., Plea entered by Nathan Clark Ward (J) Guilty Count J.• (
                          Sentencing set for 5/31/2018 at 02:00 PM in Rm 8.300 before Judge Dee
                          Benson.) Attorney for Plaintiff: Nathan D. Lyon, Attorney for Defendant:
                          Edward K. Brass. Court Reporter: Ed Young. (reb) (Entered: 03/20/2018)
    03/20/2018     22.    STATEMENT IN ADVANCE OF PLEA as to Nathan Clark Ward (blh)
                          (Entered: 03/20/2018)
    03/20/2018     21
                                            000004
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                         ***SEALED DOCUMENT*** Plea Supplement pursuant to DUCrimRl 1-1
                         as to Nathan Clark Ward (blh) (Entered: 03/20/2018)
     03/20/2018   2i     ORDER FOR PSYCHOSEXUAL EXAM as to Nathan Clark Ward. Signed by
                         Judge Dee Benson on 3/20/2018. (blh) (Entered: 03/20/2018)
     03/27/2018   2S    ***AMENDED***NQTICE QElm.4.RING asto Nathan Clark Ward
                        (Notice generated by CHAMBERS) Sentencing RESET FOR WEDNESDAY
                        6/20/2018 at 02:00 PM in Rm 8.300 before Judge Dee Benson. (reb) (Entered:
                        03/27/2018)

     OS/22/2018   26    ***AMENDED***NOTICE Qf REARING as to Nathan Clark Ward
                        (Notice generated by CHAMBERS) Sentencing RESET FOR MONDAY
                        7/2/20) 8 at 02:00 PM in Rm 8.300 before Judge Dee Benson. (reb) (Entered:
                        05/22/2018)

     06/21/2018   28    ***AMEN!}ED***NOTICE OE BEARING as to Nathan Clark Ward
                        (Notice generated by CHAMBERS) Sentencing RESET FOR TUESDAY
                        7/10/2018 at 02:30 PM in Rm 8.300 before Judge Dee Benson. (reb) (Entered:
                        06121/2018)

     07/03/2018   29    ***AMENDED***~QTI!:E QE lff.ARING as to Nathan Clark Ward
                        (Notice generated by CHAMBERS) Sentencing RESET FOR FRJDAY
                        7/20/2018 at 02:30 PM in Rm 8.300 before Judge Dee Benson. (reb) (Entered:
                        07/03/201 8)

     07/19/2018   lO.   Defendants Position with Respect to Sentencing Factors as to Nathan Clark
                        Ward (Brass, Edward) (Entered: 07/19/2018)
     07/20/2018   31     Minute Entry for proceedings held before Judge Dee Benson: Dft present with
                         cnsl and in custody. Stmts made by cnsl, dft & Govt. Crt
                         Adjudges:Sentence:Dft placed in the custody of the B.O.P for 262 months.
                         Supervised release LIFE. Standard and specia1 conditions of release. Special
                         condition: 1. You must cooperate with the U.S. Probation and Pretrial Services
                         Computer and Internet Monitoring program; Appendix A, Limited Internet
                        Access (Computer and internet use, as approved) (Not Applicable to Third
                        Party Employment). Cooperation shall include, but not be limited to, identifying
                         computer systems (as identified in 18 § U.S.C. 1030 (cXl), internet capable
                         devices, networks (routers/modems), and/or similar electronic devices (external
                        hard drives, flash drives, etc.) to which you have access. All devices are subject
                        to random inspection/search, configuration. and the installation ofmonitoring
                        software and/or hardware at your expense. 2. You must infonn all parties who
                        access approved computer(s) or similar electronic device(s) that the device(s) is
                        subject to search and monitoring. You may be limited to possessing only one
                        personal computer and/or internet capable device to facilitate the ability to
                        effectively monitor your internet-related activities. 3. You must report any and
                        all electronic communications service accounts (as defmed in 18 USC 25 JO
                        ( 15)(17)) used for user communications, dissemination, and/or storage of digital
                        media files (i.e. audio, video. images, documents, device backups) to the U.S.
                        Probation Office. This includes, but is not limited to, email accounts, social
                        media accounts, and cloud storage accounts. You shall provide each account
                        identifier and password, and shall report the c~tion of new accounts. Changes
                        in identifiers and/or passwords, transfer, suspension and/or deletion of any
                        account shall be reported within five days of such action. You must penn it the
                                          000005
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                               U.S. Probation Office to access and search any account(s) using your
                              credentials pursuant to this condition. 4. The Court orders that the presentence
                              report may be released to the state sex-offender registration agency if required
                              for purposes of sex-offender registration. 5. You must participate in and
                              successfully complete sex-offender treatment, to include a risk assessment and
                              physiological testing, at a program approved by the U.S. Probation Office. You
                              must abide by the rules, requirements, conditions, policies, and procedures of
                              the program. You must submit to periodic polygnph testing as directed by the
                              U.S. Probation Office or treatment provider as a means to ensure your
                              compliance with the requirements of your supervision or treatment program.
                              You must contribute to the cost of services rendered in an amount to be
                              determined by the U.S. Probation Office, based on your ability to pay. 6. You
                              are restricted from contact with individuals who are under 18 years of age
                             without adult supervision, as approved by the U.S. Probation Office. 7. You
                              must abide by the foltowing occupational restrictions: Any employment shall be
                              approved by the U.S. Probation Office. Jn addition, if third-party risks are
                              identified, the U.S. Probation Office is authorized to infonn your employer of
                             your supervision status. 8. You must not view, access, or possess sexually
                             explicit material in any fonnat. 9. You must submit to periodic polygraph
                             testing as directed by the U.S. Probation Office or treatment provider as a
                             means to ensure your compliance with the requirements of your supervision or
                             treatment program. You must contribute to the cost of services rendered in an
                             amount to be detennined by the U.S. Probation Officer based on your ability to
                             pay. No fine is imposed. Special assessment fee of$100.00, payable forthwith.
                             The Court finds that restitution is ordered pursuant to 18 U.S.C. § § 3663A Bnd
                             2259. Restitution of $2,866.80 is payable to: State of Utah Office of Victims of
                             Crime 350 East 500 South, Ste. 200 Salt Lake City, UT 84111 Chum 1049792.
                             Pursuantto 18 U.S.C. § 3014, the Court imposes a $5,000 assessment under the
                             Justice for Victims of Trafficking Act (NTA). The Court recommends that the
                             defendant be placed in a Federal Correctional Institution at Englewood, CO., for
                             family visitations. The Court infonns the dft of his right to appeal within 14
                             days of entry ofjudgment. The dft is remanded to the custody of the
                             USMS.Sentencing held on 7/l.0/2018 for Nathan Clark Ward (1), Count(s) 1,
                             BOP 262 months. Supervised Release LIFE. Standard and Special Conditions
                             of Release. No Fine Imposed. SAP St 00.00 Restitution $2,866.80. JVTA
                             $5,000.00; CoW1t(s) 2, 3, DISMISSED PER GOVT. COP: 3/30/2018. Attorney
                             for Plaintiff': Nathan D. Lyon, Attorney for Defendant: Edward K. Brass. Court
                             Reporter; &f Young. (reb) (Entered: 07/20/l.018)
     07/l.0/2018   l2     7 JUDGMENT as to Nathan Clark WRrd (I), Count J. BOP 262 months.
                            Supervised Release UFE. Standard and Special Conditions of Release. No Fine
                            Imposed. SAP $100.00 Restitution $:?.866.80. JVTA $5.000.00~ Counts 2. 3.
                            DISMISSED PER GOVT. Defendant Tenned. Case Closed. Signed by Judge
                            Dee Benson on 7/20/2018.(mas) (Entered: 07/20/2018)
     07/25/2018    .li      Writ of Habeas Corpus ad Prosequendum Returned Executed as to Nathan
                            Clark Ward on 7/l.4/2018. (mas) (Entered: 07/25/2018)
     08/03/2018    l6    14 NOTICE OF APPEAL by Nathan Clark Ward re l2. Judgment,. Filing fee $
                            SOS, receipt number 1088-3070221. Appeals to the USCA Tenth Circuit
                            (Brass, Edward) (Entered: 08/03/20 I B)

                                               000006
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   BRASS & CORDOVA
   EDWARD K. BRASS (432)
   KIM CORDOVA (9100)
   Attorney for the Defendant
   175 East 400 South, Suite 400
   Salt Lake City, Utah 84111
   Telephone: (801) 322-5678
   Facsimile: (801) 322-5677


                             IN THE UNITED STATES DISTRICT COURT

                     IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

    THE UNITED STATES OF AMERICA,

                      Plaintiff,                         POSITION OF PARTY WITH RESPECT
                                                             TO SENTENCING FACTORS
    v.
    NATHAN WARD,                                                  Case No. 1:l 7CR00060-001
                                                                        Judge Benson
                      Defendant.

                     Dr. Ward, by his attorney, gives notice that he has no objection to the presentence

   report prepared and filed in this matter on June 15, 2018, except as is set forth below:

         1. The enhancement oontained in paragraph 30 should be removed. USSG §2G2.1 (b)(1)

             applies only to minors "who had not attained the age of 12 years". Paragraph 14 states

            that the abuse in this case began "from the time she was 12 years old". Further, Dr. Ward

            would state that the abuse to which he has admitted began two years later. In either case,

            the enhancement does not apply.

         2. Eliminating the four level enhancement would change paragraph 41 to a total offense level

            of 35.

         3. Eliminating the four level enhancement would change the guideline in paragraph 71 to

            168-210 months.

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       4. It should also be noted that as is set forth in the section entitled "Related Cases", the other

           participant in Dr. Ward's offense was sentenced to a term of 144 months for the same

           conduct. As the Basic Approach (Policy Statement) to the Guidelines asserts, one of the

           putposes of the adoption of sentencing guidelines was to achieve "reasonable uniformity in

          sentencing by narrowing the wide disparity in sentences imposed for similar criminal

          offenses committed by similar offenders."

       5. Finally, the 15 year minimum mandatory sentence in this case would fall in the middle of

          the correct guideline of 168-210 months and would satisfy al) of the policy purposes of 18

          u.s.c. §3553.
                  DATED this 19th day of July, 2018.


                                                     Isl EDWARD K. BRASS
                                                     KJMCORDOVA
                                                     EDWARD K. BRASS
                                                     Attorneys for the Defendant




                                                  000008
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                               ELECTRONIC FILING CERTIFICATE

           I hereby certify that a true and correct copy of the foregoing Position of Party with Respect

    to Sentencing Factors was filed electronically and caused to be served by electronic notice to all

    parties listed below on this July 19, 2018.

    United States Attorney's Office               Ms. Stacey Hirata
    111 South Main Street                         U.S. Probation
    Salt Lake City, Utah 84111                    160 United States Courthouse
                                                  350 South Main Street
                                                  Salt Lake City, Utah 84101




                                                  000009
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            Other Arrests

    50.     None.

    PART C. OFFENDER CHARACTERISTICS

           Personal and Family Data

    51.    Defendant Ward was born to J t           t&n (87) and lilll           J g I (87). The
           defendant is the fifth of seven children born to this union. The defendant's father was a
           carpet layer and is now retired. Ms. Ward was a homemaker until the children were older
           and then she was a bank teller. The defendant's siblings are as follows: • •• Ward
           (67), Phoenix, Arizona.At 16 Ward (64), who resides in Springville, Utah; . . .
          "'I• fr (62), who resides in Scotts Bluff, Nebraska; • • N who died in 201S from
           complications of liver cancer;       ~              (52), who resides in Saratoga Springs,
           Utah and   I  P J Q I (48), who resides in Lehi, Utah.
   52.     The defendant's family resided in California until he was approximately 14. The family
           then moved to Utah. He described bis childhood as good with no particular problems. He
           disclosed he left home at the age of 19 to serve a Latter Day Saints (LDS) mission to
           Quito, Ecuador. Mr. Ward returned to Utah after his two year mission. He then married
          JO             L n January 7, 1983, in Salt Lake City, Utah. Four children were born to
           this union: . . . Ward (34), who resides in Bountiful, Utah; 4    I   O Carlson (32), who
          resides in Bountiful, Utah; 2 I a Anderson (30), who resides in American Fork, Utah;
          and . 8 § Ward (28) who resides in Woods Cross, Utah. This marriage ended in divorce
          in 1993.. Mr. Ward reveaJed his wife ran offand he raised all four of his children with the
          assistance of bis parents and family. Mr. Ward indicated he is close with all of bis
          children and they all remain supportive of him. He married a second time for an
          approximate nine month period ti :     £1 t- :✓ :1 this marriage also ended in divorce.
          Mr. Ward married a third time to •-•••• • 111111. - s on October 23, 2003, in Salt Lake City,
          Utah. This marriage ended in divorce on February 7, 2018. due to the instant offense.
          ~ daughter has been identified as one of the victims in the instant offense and



   53.
          the current state charges.

          Contact with the defendant's brother,   a.  l. Ward, was established and he corroborated
          the defendant's background information. The defendant's brother believes the defendant
          has made a lot ofmistakes but the family is proud of how he is dealing with it. Mr. Ward
          stated their family are people offaith and now believe the defendant is in a better place,
          especially spiritually. Mr. Ward concluded the family is not upset the defendant is going


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           to prison because he needs help. Mr. Ward related the family continues to love and
           support the defendant.

           Physical Condltic>n

     54.   The defendant had kidney stones in December of 2018, while in custody at the Davis
           County Jail. He reJated he did not receive any medicaJ care and it took approximately two
           weeks to have the kidney stones pass. He denied any other hospitalizations, injuries, or
           accidents. Mr. Ward is not on any prescription medication.

           Mental and Emotional Health
     55.   Mr. Ward denied any mental or emotional problems, and no history of treatment for such
           problems. He denied any past or current thoughts of suicide.

     56.   The defendant reported since being in custody he wilJ read, exercise, assist other inmates
           with the Spanish or English language and attend religious services to pass the time.




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                  Substance Abuse

            62.   Defendant Ward denied use or abuse of alcohol or any illegal controlled substances.

                  Educational, Vocational and Special Skills

            63.   The defendant revealed he graduated from Springville High School in 1979 (verification
                  pending). He then attended Utah Valley University and transferred to Brigham Young
                  University (BYU). Mr. Ward obtained his Bachelors of Science Degree in Pre-
                  Med/Microbiology from BYU on April 22, 1988 (verified). The defendant then attended
                  the Uniformed Services University of the Health Sciences (USUHS) in Bethesda,
                  Maryland and graduated in 1992 with his medical degree. He was then stationed at
8                 Keesler Air Force Base in Biloxi, Mississippi for his residency/internship in
~
N                 Obstetrics/Gynecology from 1992 to 1996.

                  Military History
            64.   The defendant entered the United States Air Force as a reservist on December 31, 1987,
                  and he remained in the reserves until f 992. Mr. Ward was active duty from 1992 to 2004.
                  He received an honorable discharge and was a Lieutenant Cornel at the time of discharge
                  (verification pending).
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           In addition, the defendant shall not possess a controlled substance and shall comply with
           the standard conditions of supervision as adopted by this Court.              ·

    88.    For offenses coJJUajtted on or after September 13, 1994, in accordance with the Violent
           Crime Contra] and Law Enforcement Act of 1994, the defendant must submit to one drug
           test within 15 days of placement on supervision and at least two periodic drug tests
           thereafter. as directed by the probation officer, in addition to any other testing
           requirements ordered by the Court, unless the Court finds that the defendant poses a low
           risk of future substance abuse and su~pends the requirement that the defendant submit to
           mandatory drug testing.

    89.    Pursuant to 42 U.S.C. § 14135a and 10 U.S.C. § 1565, as authorized in Section 3 of the
           DNA Analysis Backlog Elimination Act of 2000 and Section 203 of the Justice for All
           Act of 2004, the defendant shall submit to the collection of a DNA sample at the
           direction of the Federal Bureau of Prisons or U.S. Probation Office. The Federal Bureau
           of Prisons or probation office may use or authorize the use of such means as are
           reasonably necessary to detain, restrain, and collect a DNA sample from an individuaJ
           who refuses to cooperate in the collection of the sample. Failure to comply is a Class A
           Misdemeanor.

    90.   Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, the defendant shall
          report the address where the defendant will reside and any subsequent change of
          residence to the probation officer responsible for supervision, and shaJI register as a sex
          offender in any state where the defendant resides> is employed, carries on a vocation, or is
          a student.

   PART E. FACTORS THAT MAY WARRANT DEPARTURE
   91.    The probation officer identified no information concerning the offense or the offender
          which would warrant a departure from the advisory guideline range.

   PART F. FACTORS THAT MAY WARRANT A SENTENCE OUTSIDE OF THE
          ADVISORY GUIDELINE SYSTEM

   92.    Presentation of information in this section does not necessarily constitute a
          recommendation for a variance from the advisory guideline range.

   93.    Pursuant to 18 U.S.C. § 35S3(a), the Court, in determining the particular sentence to be
          imposed, shall consider: (1) the nature and circumstances of the offense and the history
          and characteristics of the offender; (2) the need for the sentence imposed (A) to reflect
          the seriousness of the offense, to promote respect for the law, and to provide just
          punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C) to
          protect the public from further crimes of the defendant; and (D) to provide the defendant
          with needed educational and vocational training, medicaJ care. or other correctional
          treatment in the most effective manner; and (3) the kinds of sentences available.

   94.    Mr. Ward bas no prior criminal history. He maintained a successful career for 13 years
          prior to his arrest for the instant offense and state charges. The defendant appears to have
          a supportive family who assist in his rehabilitation and supervision.

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            Adult·Criminal Conviction(s)

     45.   None.

            Criminal History Computation

     46.   The criminal convictions above result in a subtotal criminal history score of zero.

     47.   The total criminal history score is zero. According to the sentencing table in USSG
           Chapter 5, Part A, a criminal history score of zero establishes a criminal history category
           ofl.

           Other Criminal Conduct

     48.   None.




                                               000014
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    l                        IN THE UNITED STATES DISTRICT COURT

    2                     FOR THE DISTRICT OF UTAH, NORTHERN DIVISION

    3

    4
             UNITED STATES OF AMERICA,            )
    5                                             )
                          Plaintiff,              )
    6                                             )
                   vs.                            )
    7                                             )
             NATHAN CLARK WARD,                   )   Case No:    l:17-CR-060
    8                                             )
                          Defendant,              )
    9                                             )
                                                  )
   10                                             )


   11

   12

   13

   14

   15

   16
                               BEFORE THE HONORABLE DEE BENSON
   17
                                         July 20, 2018
   18
                                       SENTENCING HEARING
   19

   20

   21

   22

   23                                    Reported by:
                                 KELLY BROWN HICKEN, RPR, RMR
   24                                    801-521-7238

   25


                                         000015
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    l                              APPEARANCES OF COUNSEL

    2

    3      FOR THE GOVERNMENT:                        OFFICE OF DAVIS COUNTY

    4                                                 ATTORNEY'S OFFICE

    5                                                 BY:   NATHAN D. LYON

    6                                                       Attorney at Law

    7                                                 PO BOX 618

    8                                                 FARMINGTON, UTAH      84025

    9

  10

  11       FOR THE DEFENDANT:                         EDWARD K. BRASS

  12                                                  Attorney at Law

  13                                                  175 E 400 S STE 400

  14                                                  SALT LAKE CITY, UTAH 84111

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                  l               SALT LAKE CITY UTAH, FRIDAY, JULY 20, 2018

              2                                    *     * *   *    *
              3                   THE COURT:     Good afternoon .         We'll go ahead in the

              4       United States of America vs. Nathan Clark Ward.                   The case

14:31:57      5       number is 17-CR-60.      And the defendant is present.              He's

              6       represented by Mr. Edward Brass.         The United States is

              7       represented here today by Mr. Nathan Lyon.                We're here for

              8       sentencing in this case.

              9                   Mr. Brass, could I, please, first hear from you?

14 : 32 : 20 10                   MR. BRASS:     Your Honor, I have two people who would

             11       like to speak to you that are family members that would take

             12       less than five minutes, and I'd ask you to listen to them

             13       first.

             14                   THE COURT:     Okay.     Sure.

14: 32: 32   15                   MR. BRASS:     The first one would be Barbara Ward.

             16                   THE COURT:     Barbara Ward.          Okay.

             17                   MR. BRASS:     Excuse me.        I've got it backwards.

             18       Debra.

             19                   THE COURT:     Debra Ward?       And is this the

14:32:39 20           defendant's mother?      I'm sorry.

             21                   MR. BRASS:     The person that stood up was his

             22       mother.   You're absolutely right.

             23                   THE COURT:    This is his sister.             Okay.    Yes.

             24       Please, if you would just say your name, and then I'd be happy

14:32:49 25           to hear anything you would want to tell me.


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                1                  MS. DEBRA WARD:       My name is Debra Ward.         I'm

                2   Nathan's sister-in-law.       I've known Nathan since he was seven

                3   years old.      Today we will hear about horrible acts Nathan is

                4   responsible for with tragic consequences for many.                 Our prayer

 14 : 33:14     5   and hope are for healing for those who suffer.              We do not

                6   excuse or condone any abuse or wrongdoing by Nathan.                 I have

                7   chosen to speak today to share why I believe in Nathan's

                8   ability to eliminate these destructive behaviors in his life.

                9                  There are three powerful reasons I have this hope.

14 : 33:37     10   First are two characteristics Nathan has demonstrated

               11   throughout his life.      They are determination and resilience.

               12   Before high school Nathan worked long, hard hours with his

               13   father laying carpet.      When money was tight in high school

               14   Nathan started his own business cleaning upholstery.                 He

14 : 34 : 01   15   worked and paid his way through undergraduate college even as

               16   he provided for his growing family.           He was a successful

               17   hardworking student and was accepted into medical school.

               18                  Nathan joined the Air Force and served honorably

               19   for 19 years reaching the rank of Lieutenant Colonel.                 In the

14:34:18       20   second area of his medical residency his first wife abandoned

               21   him leaving him with four children ages two to eight.                 With

               22   help at times from his parents he was able to complete his

               23   medical training, an OBGYN specialty, and care and raise for

               24   his four children for 10 years as a single father.                 He was an

14 : 34 : 40   25   outstanding OBGYN who was caring and beloved by his patients


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               1   including my own daughter.

               2                  Second and perhaps the most important is Nathan's

               3   own strong desire to change .           I read Nathan's letters during

               4   the past year and have witnessed his steps down the path of

14:34 : 58     5   rehabilitation.       In addition to his own willingness and

               6   fortitude to do the hard work required to change his -- and to

               7   change and his innate determination and resilience, Nathan has

               8   a large supportive family including parents, children,

               9   siblings, nieces and nephews .

14:35:20      10                  Nathan is loved by his family, and we are willing

              11   and committed to stay with Nathan and see him through this

              12   difficult journey of change and recovery.                 Thank you, Your

              13   Honor.

              14                  THE COURT:    Thank you.

14 : 35:32    15                  And, Mr. Brass, who's next?

              16                  MR. BRASS:    Now his mother Barbara .

              17                  THE COURT:    Okay.

              18                  Mrs. Nelson      or Mrs. Ward, I'm sorry.

              19                  MR. BRASS:    It is.

14 : 35 :47   20                  THE COURT :   Please come forward.            And if you'd give

              21   us your name, and I'd be happy to hear anything you would like

              22   to say.

              23                  MS. BARBARA WARD:        Yes.     I'm Barbara Ward.       Your

              24   Honor, I'm Nathan's mother.            He   did not ask me to speak.        I

14:36:04      25   chose to speak on my own this morning.


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              1                   I feel such sorry for the pain that his actions

              2   have caused.        I have prayed for everyone involved that they

              3   will be healed and comforted.             We cannot go back and change

              4   the past, but I       am a     woman of faith and I speak to that faith.

 14:36:29     5   I know that through the atonement of Christ that repentance is

              6   a reality and change is possible.

              7                   I witnessed a change in Nathan over these months,

              8   and I love our son and our grandchildren.                And I know it's

              9   right and necessary for him to serve the sentence of the

14 : 36:56   10   Court.     I would just ask that justice be combined with mercy

             11   and that Nathan in his later life be given time to spend with

             12   his children and grandchildren.             Thank you.

             13                   THE COURT:      Thank you very much, Mrs. Ward.

             14                   MR. BRASS:      Judge, I filed one objection with

14:37 :28    15   respect to the presentence report.             And Ms. Hirata was kind

             16   enough to point out while it's correct on its face that it's a

             17   two-level difference instead of four because there's two

             18   levels between 12 and 16.            So that would be the only

             19   adjustment with respect to the presentence report.

14:37:46     20                   THE COURT:      And I think she's at least adjusted the

             21   one I have in my hand.

             22                   MR . BRASS :    Great .   You know, I don't have much to

             23   add to what already has been said and what's been said in

             24   writing.       Dr. Ward is a person who's a good person who's done

14:38 : 05   25   many good things for many good people, and he's a person who 1 s


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                1   also done terribly wrong to the young woman who is the subject

                2   of this action, and he knows it.          I would hope that the good

                3   that he's done in his life balances out the evil to this

                4   extent, that 15 years is an adequate time to serve in a

14 : 38:2S      5   federal prison, the mandatory minimum sentence in this case as

                6   opposed to the guideline sentence.          He will be almost 72 years

                7   old when he's released under those circumstances .             And it's

                8   going to be supervised release after that and possibly for a

                9   term for the rest of his life.

14 : 38 : 43   10                 He's also facing a state charge that's going to be

               11   resolved on August 2nd that will clearly to some degree

               12   complicate that situation, as well.           I mean, that will be

               13   something he will have to deal with upon his release.

               14                 So I would urge you to consider giving him the

14:39:00       15   minimum mandatory.        And when we talk about minimum being

               16   15 years for a person who's 56 years old now, that's an

               17   awfully long time.        The word minimum doesn't really do it

               18   justice.

               19                 THE COURT:    All right .    Thank you, Mr. Brass.

14:39:15       20                 Mr. Lyon?

               21                 MR. LYON:    Your Honor, Kambria Ward is present, and

               22   she as the mother of the victim and former spouse of the

               23   defendant.     She would like to address the Court after which I

               24   would like to address the Court.

14 : 39:30     25                 THE COURT:    All right.


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              1                  Ms. Ward, come forward, please, and I'd be happy to

              2   hear whatever you have to say.

              3                  MS. Kambria WARD:     I am Kambria Ward.      And I've

              4   written this addressed to Nathan.         Is that okay if I -- I' l l

14:40:02      5   speak to you, but just know that the words are for him.

              6                  THE COURT:   Okay.

              7                  MS. Kambria WARD:     I was faithful in every way to

              8   you.    You deceived me, and I am devastated.         I'm ashamed.       You

              9   used me into your facade to live a sick deviant life.              The

14:40:27     10   hurt, anger and trauma that you have caused cannot be

             11   measured.      It penetrates so deep into my soul at times I'm

             12   paralyzed.      You've not only hurt me but my family, your family

             13   and a community who trusted you.         You have broken me and taken

             14   what cannot ever be given back.         You've robbed my baby of her

14:40 : 51   15   innocence and virtue and left me in a world upside down.              Many

             16   nights I scream out wishing you were there to see what you've

             17   done.    I will be scarred forever.

             18                  You took what I wanted most in this life, a husband

             19   and a family, and destroyed it.         You have left me without a

14:41:17     20   husband and our children fatherless.         You have taken what is

             21   most precious from my daughter and published your bastardly

             22   deeds to other equally sick people.

             23                  There is no one to blame but yourself.        You had it

             24   all.    You had a wife who loved you, a family and a great

14:41 : 38   25   profession.     You gave it all up.     Yes, you chose this.       You



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                 1   traded your family and freedom for prison walls and shackles.

                 2   A husband doesn't do what you've done to me.           Fathers don't do

                 3   what you've done to our children, and doctors don't do what

                 4   you've done to your patients.

 14 : 41 : 58    5                 For you to be able to come home every day as if it

                 6   was a normal day at the office is repulsive .          You hid behind a

                 7   career in which you took an oath to protect and help others,

                 8   and you used that trust and power to hurt and abuse.               You are

                 9   not only a liar but a filthy, disgusting man who created a

 14:42 :21      10   false world to cover up your true deviancy.

                11                 I was locking doors to protect us from intruders

                12   when you were the one I should have been locking out.               It

                13   allowed you to mastermind your devil's playground.               And you

                14   continued to deceive me and hurt me.         I trusted you.

14:42 : 53      15                 After learning from the authorities about your true

                16   debauchery they have been the ones that have now protected me

                17   and my children from you.       I will always be grateful they

                1B   didn't dismiss you because you were a supposed family man or a

                19   doctor.     The damage you've already done will leave permanent

14:43: 10       20   scars on many hearts that will never heal.          Your depravity

                21   will affect many generations.        Many innocent people who would

                22   have been scarred by you in the future will now never know

                23   what would happened to them but for your arrest, thank

                24   goodness.

14 : 43 : 27    25                 When you were arrested you chose to only protect


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                1   yourself.     You tried to take everything from me.           That was

                2   what I needed to learn and should have learned years ago.                You

                3   were never there for me.       It was only about yourself.

                4                 I now see through your constant efforts to keep

 14 : 43:46     5   your hero status with the children.          It was the same with your

                6   patients .    The accolades justified you and your wickedness,

                7   and you were able to feed your sick passions.            This is no

                8   more.     There was no fulfilling your sexual appetite.

                9                 You've taken the best years of my life and left me

14 : 44 : 06   10   with shattered memories.       Every birthday, every holiday, every

               11   anniversary will be stained by you.          Your example to my

               12   children as a father is disgraceful.          You deserve to be

               13   forgotten.     You had your chance to make a difference in their

               14   lives .    You let them down, and you became everything that I

14:44:43       15   never wanted.

               16                 I am so angry at you .     You've destroyed my

               17   relationship with your children and our grandchildren who I

               18   love.     It will never be fixed.      You did this.

               19                 I stand here today with no regrets.          I know I have

14:45:14       20   done everything possible for you, for your children and for

               21   our grandchildren.     I raised them, I loved them and I nurtured

               22   them.     I do not blame God, but I do blame you for robbing me

               23   of being a mother and a grandmother .        This is a consequence

               24   for what you've done.     You've conspired with the devil and

14 : 45:40     25   agreed to go down with him further than I thought was humanly


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                1   possible.

                2                  You are where you need to be.        You have proven your

                3   a danger to society.        There is not a harsh enough sentence to

                4   pay the price for all you've destroyed.           Life cannot be

 14;45:55       5   reversed.      You should be punished at the highest level because

                6   of the position of trust you strategically placed yourself in

                7   to have power and dominance over others.           You never deserve to

                8   walk free.

                9                  I will be there for every hearing concerning a

14 : 46:12     10   possible release.       I will speak with assurance the necessity

               11   to keep you locked up.        You have proven you are a sexual

               12   predator of the worse kind and won't stop until you get what

               13   you want.      A man with no conscience deser~es the fair measures

               14   to protect the innocent.

14 : 46: 35    15                  I will spend the rest of my life fighting to

               16   survive and helping those within my reach who have been hurt

               17   by you.     I hope some day to be an example to my children and

               18   others that it's possible to rise from tragedy and that

               19   terrible things happen to good people .         But you will not

14 : 47 : 02   20   define me.      Just as you have made your choices that have

               21   imprisoned you I will make my choices to pick up the fragment

               22   of a life that was supposed to be so different.             Thank you.

               23                  THE COURT:   All right.    Thank you.

               24                  Mr. Lyon?

14:47:23       25                  MR . LYON:   Your Honor, just as a matter of


                                                  000025
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                   1   housekeeping I'm assuming that the Court has received the

               2       victim statement by the victim KP?

                   3                THE COURT :     Yes.

                   4                MR. LYON:      And the Court's had a chance to consider

 14:47 : 35    5       that.   She is here.       She's been for all of the hearings but is

               6       choosing not to address the Court.          But I just wanted to make

               7       sure the Court has had a chance to consider her statement to

               8       the Court.

               9                    I've spoken with Mr. Brass.         There is a restitution

14;47:52      10       request of $2,866.80.       It's my understanding that they have no

              11       objection to that restitution request.

              12                    Your Honor, finally, this is an exceptionally sad

              13       case.   On the one hand we have an individual who by all

              14       accounts is a very well respected and loved doctor.               I happen

14 : 48:21    15       to have quite a few neighbors who indicated that he's their

              16       physician or was their physician, and they frankly adored him.

              17       But on the other hand, we have an individual who has

              18       absolutely disseminated lives.         We've heard from Kambria

              19       who -- and we also have the statement from Kassidy who -- I

14 ; 48:53    20       mean, this is going to take years if they can ever be put back

              21       together.    And there needs to be a punishment that is

              22       commensurate with the crime that he committed and the level of

              23       harm that he has conunitted.

              24                    We agree that the presentence report has been

14:49 :11     25       calculated correctly, and we just ask the Court to impose the


                                                    000026
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                1   punishment that is appropriate.              We'll submit it.

                2                  THE COURT:     All right.       Thanks, Mr. Lyon.

                3                  And, Mr. Brass, anything to respond with?

                4                  MR. BRASS:     No.       Do you want to hear from Dr. Ward?

 14 : 49:3 0    5                  THE   COURT:   Thank you.

                6                  Dr, Ward, if you'd like to say anything I'd be

                7   happy to hear it from you.

                8                  THE DEFENDANT:       Thank you for allowing me to speak.

                9   I would just like to take this moment to apologize to those

1 4 : 49: 55   10   who I've directly hurt .        I know what I did was horribly wrong.

               11   And I know that I have caused significant pain, heartache and

               12   damage to them and also indirectly to other individuals in my

               13   family.    I am truly sorry for the actions that I have done and

               14   take full responsibility for them and accept whatever judgment

14 : 51 : 07   15   the Court desires to give me .            Thank you .

               16                  THE COURT:     All right .     Thank you, Dr. Ward.

               17                  The guidelines appear to the Court to be correctly

               18   calculated.      An offense level of 37, a criminal history

               19   category of one, yielding a recommended range of 210 months to

14:51:28       20   262 months.

               21                  The Court sentences the defendant to a period to be

               22   placed in the custody of the Federal Bureau of Prisons for

               23   262 months.      That will be followed by supervised release for

               24   the rest of his life.         There will be special conditions as

14:51 : 50     25   follows.      One, the defendant will cooperate with the Probation


                                                   000027
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            1    and Pretrial Services Computer and Internet Monitoring

            2    Program; two, the defendant will inform all parties who access

            3    approved computers or similar electronic devices that the

            4    devices are subject to search and monitoring; thirdly, the

14:52:18    5    Court advises the defendant he must report any and all

            6    electronic communications service accounts used for user

            7    communications and so forth.

            8                   I order that the presentence report may be released

            9    to the state Sex Offender Registration Agency if required for

14:52:38   10    purposes of sex offender registration.

           11                   The defendant while on supervised release will

           12    participate in a sex offender treatment program as deemed

           13    necessary by the probation office.        Hopefully there will be

           14    similar treatment available in the prison system.

14:52:59   15                   And the defendant will be restricted from contact

           16    with individuals who are under 18 years of age without adult

           17    supervision.

           18                   The defendant must abide by the following

           19    occupational restrictions.        Any employment shall be approved

14:53:13   20    in advance by the probation office.        And the third party risks

           21    are identified, the probation office will be authorized to

           22    inform the employer of the defendant's supervision status.

           23                   While on supervised release, which is going to be a

           24   long time from now, the defendant will not view, access or

14:53:35   25   possess sexually explicit materials in any format.                You will



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            1    also, Dr. Ward, submit to periodic polygraph testing as

            2    directed by the probation office.

            3                   I've considered the defendant's financial resources

            4    and other assets.      I'm not imposing a fine and find under the

14:54:02    5    circumstances the defendant does not have the ability to pay

            6    one.    I am holding restitution open for 30 days, and I'd like

            7    the us Attorney's Office and Mr. Brass to consult.

            8                   What I'd like to do, I know there is a $500,000

            9    401k that apparently still belongs to the defendant.             And I'd

14:54:22   10    like to see if -- I'd like to order restitution to provide for

           11    full college for the injured stepdaughter, the one who is the

           12    primary victim.      That was a promise made by the defendant that

           13    apparently isn't being kept.         I don't know if that's within my

           14    authority.      I'd like it looked into .

14:54:49   15                   I am ordering restitution in the amount of

           16    $2,596 . 80, which has been agreed to by the parties, in

           17    addition to the possibility of a requirement that the

           18   defendant invade that or use that $500,000 401k to pay for the

           19   stepdaughter's college .      And that would include fees, tuition,

14:55:23   20   books and housing.       I would like to have a figure about what

           21   therapy his ex-wife and his other children reasonably

           22   anticipate for the future.        That wasn't expressed in any way

           23   to me.     And I'd like to give the parties 30 days to at least

           24   look into it.      That's what I'd like to do if it complies with

14:55:51   25   the law.


                                             000029
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            1                   I'm requiring the defendant for the five counts of

            2    conviction to pay -- excuse me.         Pursuant to 18 use 3014, I'm

            3    imposing a $5,000 assessment under the Justice For Victims of

            4    Trafficking Act.      For the one count of conviction I'm imposing

14:56:16    5    on the defendant a payment of $100 for a special assessment

            6    fee, which is statutorily required and is due immediately.

            7                   And, Dr. Ward, you have 14 days to take an appeal

            8    in this case if you feel it is illegal.          I'm fully aware that

            9    this sentence is significantly longer than Mr. Francis'.                I

14:56:40   10    find many reasons to justify the longer sentence:                your

           11    position in the community; I find you to be by far the, I

           12    don't know what the right word is, ring leader, I suppose is

           13    the closest I can get, especially looking at the dialogue

           14    between you and Mr. France along the way.          His abuse of his

14:51:05 15      step children was awful.       Yours was at least five times that.

           16                   I don't know how a person does what you do to your

           17    stepdaughter.     I don't.    It's beyond my ability to comprehend.

           18    You did it over a period of years, many years from when she

           19    was 12 years old til she was either 14 or 15 or even 16.                I

14:57:32 20     don't know.      And you told us here at the podium you take full

           21   responsibility for what you've done, and I don't believe that.

           22   I've never seen it.      All you've agreed with with me was that

           23   you produced some child pornography, whtch I suspect is the

           24   story you'll tell to your cellmates in the prison, that you

14:57:56   25   got 22 years from a federal judge because you took some photos


                                              000030
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              1   of your stepdaughter that she was willing to let you take, or

              2   something along those lines.        -I don't know what lie you'll

              3   tell.     You might have to to survive in prison.

              4                 I don't know what falsehoods you've told your own

14 : 58:19    5   family.     It doesn't appear to me from everything I've read

              6   that you've come clean with them .        I doubt your family has

              7   seen the entirety of the text messages, just the text messages

              8   from you and Mr. Francis and the ugliness of them, not to

              9   mention the horrid behavior that you engaged in with your

14:58:43     10   stepdaughter.     I hope she can sometime recover from this and

             11   hopefully lead a happy and healthy life, and the same with

             12   your ex-wife who has a lot of bitterness, which is

             13   understandable.     If she can let go a little bit of it she

             14   probably will be better off.

14:59:06     15                 It's a tragic case.      I don't know where you went

             16   wrong, went so horribly wrong.         This is one of the few

             17   cases -- I've been on the bench over 20 years.           This is one of

             18   the few cases where I seriously considered a life sentence.                 I

             19   think you deserve one.     You've given the people you abused

14:59:29 20       life sentences, you, by your own being the person who decided

             21   what you could get away with with a minor child.            And the

             22   distribution to others just makes it so much worse.

             23                 I don't know what the State's going to do.          And I

             24   appreciate      and you have one of the finest lawyers in the

14:59:57     25   state.    f1nd I know Mr. Lyon has agreed that 15 years here


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            1    might have been appropriate.            I only know what I can do.        The

            2    high end of the guidelines is 262 months, and that's what I'm

            3    doing because I can.         I don't know what you'll do when you get

            4    out of prison.      If your past behavior is any indication of

15:00:22    5    what you'll do if you're released, then I think society is

            6    better off not having you out.            You appear to have a nice

            7    family.    Your mother appears to be a perfectly beautiful lady.

            8    I don't know where it went haywire.

            9                   Did I mention he has 14 days to appeal?

15:00:43 10                     MR. BRASS:     You did.     I would ask the Court to

           11    recommend Englewood, Colorado, as a facility.

           12                   THE COURT:     I will.     I recommend Englewood,

           13    Colorado, for family visitation.

           14                   MR . BRASS:    Thank you.

l~:00:~4   15                   MR. LYON:     Your Honor, the government would move to

           16    dismiss Counts 2 and 3.

           17                   THE COURT:     That motion is granted.        Anything else

           18    from either side?

           19                   MR. LYON:     Your Honor, I thought I heard you order

15:01 : 03 20    restitution in the amount of $2,596.             That's actually -- we

           21    have an updated figure.

           22                   THE COURT:     Okay.     I read from whatever I had here.

           23   2,868.80.       I don't know why we say where the recommendation is

           24   that he has no ability to pay a fine.              He has some money it

15:01:24   25   appears to me.       I'd like you to look at what I asked you to


                                                000032
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              1   look.   And we'll have that open for 30 days.

              2                  MR. LYON:    Okay.

              3                  THE COURT:    The Court's in recess.

              4           (Whereupon, the court proceedings were concluded . )

15 : 01:38    5                                 *     *   *   *   *

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Appellate Case: 18-4111    Document: 010110100333   Date Filed: 12/19/2018   Page: 36


    1      STATE OF UTAH

    2                                   ss.

    3      COUNTY OF SALT LAKE

    4                      I, KELLY BROWN HICKEN, do hereby certify that I am

    s      a certified court reporter for the State of Utah;

    6                      That as such reporter, I attended the hearing of

    7      the foregoing matter on July 10, 2018, and thereat reported in

    8      Stenotype all of the testimony and proceedings had, and caused

    9      said notes to be transcribed into typewriting; and the

   10      foregoing pages number from 3 through 19 constitute a full,

  11       true and correct report of the same.

  12                       That I am not of kin to any of the parties and have

  13       no interest in the outcome of the matter;

  14                       And hereby set my hand and seal, this             day of

  15                      2018.

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                                           KELLY BROWN HICKEN, CSR, RPR, RMR
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       Appellate Case: 18-4111 Document: 010110100333 Date Filed: 12/19/2018 Page: 37
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        Appellate Case: 18-4111 Document: 010110032883 Date Filed: 08/06/2018 Page: 8
AO 24SB (Rev. O'J/18)   Jllll&lllllllt ill I Criminal Case
                         Sbcctl


                                                UNITED STATES DISTRICT COURT
                                                                    District of Utah
                                                                             )
                UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                       "·
                         Nathan Clark Ward
                                                                             )
                                                                             )
                                                                                       CUeNumber: UTDX 1:17-cr-000060 DB
                                                                             )
                                                                             )         USMNumbcr: 26504-081
                                                                             )
                                                                             )         Edward K. Braes
                                                                             )
THE DEFENDANT:
liZJ pleaded guilty to count(a)             Count 1 - Indictment
D pleadod nolo contendere to count(s)
  which wu accepted by tho court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature ofOff'en,e                                                           oaeuse Ended



       The defendant is sentenced as provided in pases 2 through
the Sentencing Reform kt of 1984.
D The defendant has been found not guilty on counl(a)
                                                                                   7                                                   -
                                                                                             of thia Judgment. The senlence is imposed pUBuant to



liZf Count(a)     2 &3                                       0 is     lilf are dismissed on the motion ofthe United State9.
         It is ordered that the defendant must notify the United States attorney for this district within 30 ~ays of any change ofnamei residence,
or mailing address until all fines, restitution, costs, and special wessments imposed by this jud&ment are fully paid, lf ordered to pay nstitation.
the dcfcnoant moat notify the court and United States attorney ofmaterial cliangea in economic circumstances.

                                                                             7/2012018
                                                                            0.141 af'Impasitlllll orJudgment




                                                                             Dee Benson, U.S. District Judge
                                                                            Nurneand Title ofJudgo             -----'~-   ---------


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 DEFENDANT: Nathan Clari< Ward
 CASE NUMBER: UTOX 1:17-cr-000060 DB

                                                           IMPRISONMENT
            The defendant is hereby committed to the oustody of the Federal Bureau ofPrlsona to be imprisoned for a tolaJ
 term of:
  262 months.




     O The cowtinatea the following rect'mrnendations to the Bureau ofPrisons:




     liZf The dcfcodaot ia remanded to the custody of1he United States Manhal.

     O The defendant shall surrender to the United States Manihal for this district:
                                                              □
            □ at
                      -------- D a.m.                             p.m.      . on
            D u J1Dtined by the United States Mmhal.

     D The defendant shall llll?mlder for eervice ofsentence at the institulfon designated by the Bureau ofPrisons:
          O before 2 p.m. on
            D as notified by the United States Marshal.
          O as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
J ha-vt: executed this judgment u folloWB:




          Defendant delivered on                                                       to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with au.rtified copy ofthis judgment




                                                                         By -------====-==~e-='=""'"".,.,...,,=""'"_____
                                                                                             DP.l'UT\' UNlTBD STA~ MARSKAL



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          Appellate Case: 18-4111 Document: 010110100333 Date Filed: 12/19/2018 Page: 39
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  DEFENDANT! Nathan Clark Ward
  CASE NUMBER: UTDX 1:17-cr-000060 DB
                                                            SUPERVISED RELEASE
                         ·
  Upon -"!lease from impr1Bonment, you will beon supe:rvis
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                                                        MANDATORY CONDITIONS


 1.      You must not c~mmit another federal, state or local orime.
 2.      You must not unlawfully p088CS8 a controlled subs1&Dce.
 3.      You must Mfiain from any unlawful use of a controlled subst&nce. You must &llbmit to one drug lest within 15 days of release from
         imprisomnent and at least two pcriodjc chug t.ests then:a:fter, as determined by the court.
                  □   The above drug testing oondition ia suspended, based on the court's do!,mmination that you
                      pose a low risk of future substance abuse. (abed: tfappllcabr.)
4.         l;;1J You must make restl1utlon in acc:ordanco with 18 U.S.C. §§ 3663 and 3663A or any otberstatuteauthorizfng asenklnce of
              restitutiOD. (ol,d Ifan/icohla)
s.        IZI You must coopmate m the collection ofDNA as directed by the probation officer. (dta:k(fapplil:ablt1)
6.         121 You muat comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons. or any sute sn: oft'ender registration agency in the location where you
                                                                                            r
            reside, work. are a student, or were C011victed of a qualifying offime. (d,o,k O[Jllllr:obl,}
7.        D You must participate in an qpproved program for domestic violence. (ohd (opp/kill#)


You muBt comply with the standard conditions that have been adopted by thia oourt BS well as with aay other condidons on the attached
page.




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      Appellate Case: 18-4111 Document: 010110100333 Date Filed: 12/19/2018 Page: 40
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DEFENDANT: Nathan Clark Ward
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CASE NUMBER: UTOX 1:17..cr--000060 DB

                                     STANDARDCONDfflONSOFSUPERVISION
As part ofyour supervised reloaae, you must comply with the following standard coaditiOD1 orsupervision. These oonditiOD1 m iq,osed
because they establish 1he basic expectation& tor your behavior while on supervision and identify the minimllJI tools needed by probation
officem to keep informed, nport to tho court about, and bring about hnprvvuncn1B in yom conduct and condition.
1.    You must report to the probation office in the federal judicial dillt:rict where you arc autboriml to reaido witbm 72 hour, ofyour
      release &om imprisonment, unless tbe probation of!iccrinstructa you to report to a cliffi:nmt probation office or within a diftbrent time
      frame.
2.    Abe initially reporting to the probation office» you will receive lnatructiODB &om the court ar the probation officer about how and
      when you n,ust report to the probation officer, and you must report to the probldion officer u inatructecL
3.    You must not Jatowingly leave the federal judicial district wh!Pa you arc authorized to reside without first gettiq pamiuion from the
      court or the probation officer.
4.    You must auwcr trulhfidly the qQtations ubd by)'OW'pmbation officer.
5.    You JUUBt live at a place approved by the probation officer. Tfyou plan to change where you live or anything about your living
      arraosem=ta (1;ucb u the people )'OU Jive with), you must notify the probation officer at le11St 10 days before th6 change. Jfnotifying
      tho probation officer 1n advance Js not pouible due to uoanticipated chcumstancea, you must notify the probalion officer within 72
      hours ofbecoming aware of a chsnae or expected clmnge.                                          •
6.    You lll1l8t allow the probation officer to visit you at any time at your home or elsewhere, ud you mustpmmit the probation officer to
      tab any items prohibited by the cionditions of your supervision that he or sho obaervea in plain view.
7.    You must work fiill time (at least 30 ho11r11 per week) ate lawfw type ofemployment, unlcaa the probation officu GXOU&CS you from
      doing so, If you do not have full-time employment you muat 1ry to find full~time employment, unless the probation officer CXOU8C8
      you from doing so. If you plan to cbanp wh= you work or anything about your work (such u your position or your job
      responsibilities), you must notify the probation officer at least 10 daya befi>~ the chimp. If notifying the probation officer at leut 1O
      days in advance is not possible due to ,mauticipated o.iJwmstanocs, you must notify the probation officer widwi 72 houn of
      becoming aware of a change or expected cbangc,
8.    You llllllt not commmricato or int«act with someone you know ia engaged m. crimfnel activity. If you mow soimone bu been
      convicted ofa felony, you must not knowingly comanmioate or interact with that person without first getting the permisaion of the
      probation officer.
9.    If you am urested or qucationed by a law cnforcoment officer, you must notify the probation officer within 12 hours.
IO.   You must not own, possess, or haw 80CCl8 to a firearm, llfflmJmitinq, destructive device, or danpou.. weapon (i.e., anything that was
      deaigned, or was modified for, the specific purpose of cauaina bodily houry ar death to another person such u nunch.akus or cuera).
11.   You must not a.ct ormab any agreement ·with a Jaw enforcement agency to act 18 a confidential human source or mfomant without
      fbat pttmg tbc permiuioo ofthe court.
12.   Jfthe probation officer detmnines that you pose a dak to another person (including an org&llization), tho probation officer may
      n,quire you to notify the peraon about the risk and )'01l must comply with that inatmctioo. The probation offlr.er may contact the
      pmon ad confirm that you haw notified the person about the risk.
13.   You must follow the instructions ofthe probation officer nilal.ed to the conditiODI ofsupervision.
14.    You must nbmit your person, residence, of!ioc or vehicle to search, conducted by the ~don oflicc at a reasonable time and in a
      reuonable manner based upon reuonable suspicion of oontraband or evidence of• violatfon of a condition ofrelease; failure to aubmit
       to a scaICb may be grounds for revooation; you must warn any other residents that~ )Jr'elnisos may be subject to lean:hes pmsuant to
      thia condition




U.S. Probation Office Use Only
A U.S. probation officer baa instruoted me on the conditions specified by the court end hu proyi.ded me with a wri1ml oo_py ofthis
judgment containing these conditions. For further infonnation regru:ding these conditions, see OIIDVlew ofProbation and Sup en,i,ed
Release CondidoM. available at: WWW,Mt4>ur1B,goy.

Defendant's Signature                                                                                  Date




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                   Sheet 30 - Supervised Release
                                                                                               Judgment-Page    5     of _......,1__
DEFENDANT: Nathan Clark Ward
CASE NUMBER: UTOX 1:17-or-000060 DB

                                     SPECIAL CONDITIONS OF SUPERVISION
1. You must oooperate with the U.S. Probation and Pretrial Services Computer and Internet Monitoring program; Appendix
A, Umlted lntemet Access (Computer and Internal use, as approved) (Not Applicable to Jhlrd Party Employment).
Cooperation ahaM Include, but not be llmHed to, ldentJfyfng computer systems (as ldentlfted In 18 § u.s.c. 1030 (e)(1),
lntemet capable devl088, networks (routers/modems), and/or similar electronlc devices (external hard drives, flaah dnves,
etc.) to which you have access. All devices are subject to random lnspectJon/search, conftguratlon, and the Installation of
monitoring software and/or hardware et Your expense.

2. You must Inform all parties who access approved computer(s) or similar electronic devlce(s) that the devlce(s} Is subject
to search and monitoring. You may be fimlted to posseaslng only one personal computer and/or internet capable device to
facilitate the ebMtty to effectJvely monitor Your Internet-related activities.

3. You must report any and au electronlc communications servfce accounts (as defined In 18 USC 2510 (16)(17)) U&ed for
user communications, dlssemlnatton, and/or storage of dlgltal media flies (I.e. audio, video, Images, documents, device
backups) to the U.S. Probation Office. This Includes, but Is not Umtted to, email accounts, soclal media accounts, and cloud
storage accounts. You shal proVlde each account Identifier and password, and shall report the creation of new accounts.
Changes In Identifiers and/or passwords, transfer, suspension and/or deletion of any account shall be reported within five
days of such action. You must pennft the U.S. Probation Office to aooess and search any account(&) using your credentials
puniuant to this condition.

4. The Court orderB that the presentence report may be released to the state sex-offender registration agency If required
for purposes of sex-offender regJstratJon.

5. You must participate In end successfully complete sex-offenderfteatment. to Include a risk assesament and       .
physlologlcal testl11g, et a program approved by the U.S. Probatfon Office. You must abide by 1he rules, requkements,
conditions, policies, and procedures of the program. You must submit to periodic polygraph testing as directed by the U.S.
Probation Office or treatment provider as a means to ensure your compUance with 1he requirements of your supervision or
treatment program. You must contribute to the coat of services rendered In an amount to be determined by the U.S.
Probation Office, based on your ablllty to pay.

6. You are restricted rrom contact wtth Individuals who are under 18 years of age without adult aupervJsion, as approved by
the U.S. Probation Office.

7. You must abide by the following occupatlonal restrictions: Any employment shall be approved by the U.S. Probation
Office. In addltron, It 1hlrd-party risks are ldentffled, the U.S. Probation Office Is authorized to Inform your employer of your
supervision statue.

e. You must not view, access, or possess sexuelly explicit material In any format.
9. You must submit to periodic polygraph testing as dlracted by the U.S. Probation Office or treatment provider as a means
to ensure your oompffance with the requirements of your supervision or treatment program. You must contrfbute to the cost
of services rendered In an amount to be determined by the U.S. Probation Officer based on your ablllty to pay. ·




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   Appellate Case: 18-4111 Document: 010110100333 Date Filed: 12/19/2018 Page: 42
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                                             Shlil S - Criminal Mont l111y P11111lda
                                                                                                                                                                                         Judgment - Page __ L                                              . of                                              7
DEFilNDANT: Nathan Clark Ward
CASE NUMBER; UTDX 1:17-cr-000060 DB
                                                                           CRIMINAL MONETARY PENALTIES
           The defendant must pay the total crimmal monc:t&ry penalties unda the schedule of payments on Sheet 6.

                                             A11p1ment                           lYTA AiNffment:'                                                                                                                R.utitudon
TOTALS                               $ 100.00                              $ 5,000.00                                                                                                                      $ 2,866.80



D The d,ue,mination ofrcatitution fs deferred until _ _ _ • An .A.mended Judgment in a CrimllUII Ca.Je (..40 24jC) will be emcied
           after such determination.

D          The defendant must make restitotion (includinl community reatitotion) to the following payus in the amount listod below.

           If the defendant makes a partlal paynicnt. each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
           the priori!}' order or percenta~ payment column below. However, pimmant to 1S U.S.C. § 3 664t1), all non federal victims must be paid


                                                                                                                                                                                                           .
           before the United States is paid.

NameofP•·                                                                                        ~ Restl d '                                                                                                                              •    •       I   I \           I            '        .1.. ... , • ' •



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  Claim 1049792
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                                                                                                                                                                                                                                                   '   ... #        (        ·-                ••    •            • •               •
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                                                                                                                                       2,068.80
TOTALS                                                       $
                                                                  --------                   2,868.80                          S------------
D           Restitution amo1D1t ordered pursQSllt to plea agniement $
                                                                                                                    ---------
O           The defendant must pay intmest on iestitution and• fine ofmom than S2,SOO, u.nleu tho rcetitution or fine is paid in full before the
            fifteenth day after the dale ofthe judgment, pursuant to 18 U.S.C, § 3612(f). All ofthe payment options on Sheet 6 may be subject
            to penalties for delinquency and default. pumw1t to 18 U.S.C. § 3612(g).

~            The eomt defemiined lhllt the defendant does not have the ability to pay interest and it iB ordered that:
             □ the inte.rest requirement is waived for the                                       D fine                 i1 restitution.
             □           the inu:reat requirement fot the                       D fine                □       restitution is modified .s follows:

• Jus tice for Victims of Trafficking Act of201S, Pub. L. No. 114-22.
,.;1. F indings for the total amount oflosses are required under ChaQ!e55Jd)9A, 1101 l lOA, and 113A of Title 18 for offenses committed on or
afti,r September 13, 1994, but before April 231 1996.
      Appellate Case: 18-4111                Document: 010110100333                     Date Filed: 12/19/2018               Page: 43
                     Casaseli71o'r~DIDEDcmoooenemTaE Fled OEJ.12B118 Page rlifllS
AO l4SAptf!I\WU,l 4'11~ i11ACn)~1i111 CIISC Document: 010110032883 Date Filed: 08/06/2018 Page: 14
                  'l:heen·.:_"'BcbeouTe ot"Paymenls
                                                                                                          Jdgmm1 - Pqo        7      or       7
DEFENDANT: Nathan Clan< Ward
CASE NUMBER: UTDX 1:17-cr-000060 OB

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment ofthe total criminal monetaty penalties is~ as follows:

A     IZI Lump sum payment ofS           100.00 •            due immediately, balmce due

            □     not later than _ _ _ _ _ _ _ _ , or
            O     in accordance with D C,□ D,  D B, or                        D F below; or
B     O Paymmit to begin immediately (may be combined with                □ C,        D D, or      D F below): or
C     O Payment in equal   _ _ _ _ (e.g., wed:ly, montltl)I, t[llartuly) installmeotl of $ _ _ _ _ _ ovu a paiod of
           _ _ _ _ (s.g,, montlu or)'fldn), to commence _ _ _ _ (..g., JO or 60 tht>18) aft.er the date of this judgment; or

D     D Payment in equal        _ _ _ _ (-.g., 'IW!ld:l)I, monllrly, fU411•rly) installments of $ _ _ _ _ _ _ over a period of
           _ _ _ _ (s.g,, mr,nll,,tt oryun), to commence      _ _ _ _ (e.g., 30 or 60 dllys) after release from imprisonmeo.t to a
           term of supervision; or

B     □     Payment durins the term of supervised Rleaae will comm.on00 within _ _ _ _ (e.g.• 30 or 60 day,) after release from
            imprisonment. The court will set the payment plan baaed on an uscssment of the defendant'a ability to pay at that time; or
F     21    Special Instructions regarding the paymcut ofcriminal monetary penalties:
             No fine Is imposed. SAP $100.00 Is due Immediately. JVTA $51000.00. Resllution is due Immediately fn the
             amount of $2,866.80. THE FINAL AMOUNT OF RESTITUTION WILL BE OPEN FOR 30 DAYS.



Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetaryponalttes, except those payments made through the Federal Bureau of Prisons' Jmnate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for aU payments IRVJously made toward any criminal monetary pena!tie~ iq,osed



D     Joint and Seva.l

      Defendant PDd Co-Defendant Nanres and Case Numborl (inclutllngd,fendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.                                                                   .




O     The defendant shall pay the coat ofprosecution.

O    The defendant shaJI pay the following court coal(s):

O The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments sba11 be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fme
interest, (6) communily restitution. (7) JVTA assessment, (8) penalties, and (9) costs, incl~1ding cost of prosecution and court oosle.
                                                                     000041
Appellate Case: 18-4111       Document: 010110100333               Date Filed: 12/19/2018   Page: 44



                              CERTIFICATE OF SERVICE


       I hereby certify that on 12-19-18 I electronically filed the foregoing Brief
and Appendix using the court's CM/ECF system which will send notification of
such filing to the following:
Ms. Elizabethanne Claire Stevens: elizabethanne.stevens@usdoj.gov

Mr. Felice John Viti: felice.viti@usdoj.gov



Date: December 19, 2018


                                       Isl 5clwcwot K. "E.r~s.s.

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COSC- Cert of Service counsel 6/2011
